Case 2:04-cr-20059-DEW-KK   Document 397   Filed 11/07/07   Page 1 of 6 PageID #:
                                   1293
Case 2:04-cr-20059-DEW-KK   Document 397   Filed 11/07/07   Page 2 of 6 PageID #:
                                   1294
Case 2:04-cr-20059-DEW-KK   Document 397   Filed 11/07/07   Page 3 of 6 PageID #:
                                   1295
Case 2:04-cr-20059-DEW-KK   Document 397   Filed 11/07/07   Page 4 of 6 PageID #:
                                   1296
Case 2:04-cr-20059-DEW-KK   Document 397   Filed 11/07/07   Page 5 of 6 PageID #:
                                   1297
Case 2:04-cr-20059-DEW-KK   Document 397   Filed 11/07/07   Page 6 of 6 PageID #:
                                   1298
